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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District of South Carolina


Beverly Watson, on behalf of herself and all others
similarly situated,

                             Plaintiff

                            v.                                              Civil Action No.      3:14-3594-TLW
Robert A. McDonald, in his official capacity as
Secretary of Veterans Affairs; Timothy McMurry, in
his official capacity as the Medical Director of
William Jennings Bryan Dorn VA Medical Center;                       )
Ruth Mustard, RN in her official capacity as the                     )
Associate Director for Patient Care/Nursing Services                 )
of William Jennings Bryan Dorn VA Medical                            )
Center; David L. Omura, in his official capacity as                  )
the Associate Director of William Jennings Bryan
Dorn VA Medical Center; Jon Zivony, in his official
capacity as the Assistant Director of William
Jennings Bryan Dorn VA Medical Center; Sue
Panfil, in her official capacity as the Privacy Officer
of William Jennings Bryan Dorn VA Medical
Center,

                           Defendants


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                      recover from the
defendant (name)                                                                                               the amount of
                                                                            dollars ($            ), which includes prejudgment
interest at the rate of                   %, plus postjudgment interest at the rate of           %, along with costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
O other: The plaintiff, Beverly Watson, shall take nothing from the above named defendants, as to her complaint
filed pursuant to 05 U.S.C. 552, and this action is dismissed without prejudice.



This action was (check one):

’ tried by a jury with Judge                                                                       presiding, and the jury has
rendered a verdict.
’ tried by Judge                                                                         without a jury and the above decision
was reached.
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O Decided by the Honorable Terry L. Wooten, Chief United States District Judge, presiding, having granted defendants’
motion to dismiss.



Date:       June 15, 2015                                      CLERK OF COURT


                                                                 s/Karen G Boston
                                                                            Signature of Clerk or Deputy Clerk
